Case 3:17-cv-00939-WHA Document 2688-3 Filed 01/28/19 Page 1 of 4




UNREDACTED VERSION
    OF EXHIBIT 2
   SOUGHT TO BE
 FILED UNDER SEAL
              Case 3:17-cv-00939-WHA Document 2688-3 Filed 01/28/19 Page 2 of 4



                                      FIRST AMENDMENT TO
                             LIMITED LIABILITY COMPANY AGREEMENT
                                               OF
                                       OTTO TRUCKING LLC

                 THIS FIRST AMENDMENT TO LIMITED LIABILITY COMPANY AGREEMENT
        ("Amendment"), dated as of August 17, 2016, of Otto Trucking LLC, a Delaware limited
        liability company (the "Company"), is entered into by and among the Company, Anthony
        Levandowski and Lior Ron, as the managing members of the Company (the "Managing
        Members").

                                                 RECITALS

               A       The Company was formed as a limited liability company pursuant to the
        provisions of the Delaware Limited Liability Company Act, 6 Del. C. § 18-101 et seq., and the
        Members entered into that certain Limited Liability Company Agreement (the "Agreement")
        dated and effective as of April 6, 2016.

                B.     Pursuant to Section 15 of the Agreement, the Agreement may be amended only by
        the written consent of the Managing Members.

               C.       The Managing Members desire to amend the Agreement on the terms and
        conditions set forth in this Amendment.

                                               AGREEMENT

              NOW, THEREFORE, in consideration of the foregoing recitals and the mutual promises,
        covenants, and conditions herein contained, the receipt and sufficiency of which are hereby
        acknowledged, the Managing Members hereby agree as follows:

                       1.01 Defined Terms. Capitalized terms used herein and not otherwise defined
        shall have the meaning set forth in the Agreement.

                      l.02    Amendment. The following shall be added as subsection (c) to Section 6
        of the Agreement:

                              "(c)   Call Right.  The Company may, at any time at the sole
        discretion of the Managing Members, repurchase in one or more transactions, any Unit from any
        Member, and such Member shall be obligated to sell such Unit, at the Repurchase Price (as
        defined below) (the "Call Right").

                                      (i)     The price per Unit to be paid by the Company upon
        settlement of the Company's Call Right (the "Repurchase Price") shall equal the fair market
        value of the Unit determined in good faith by the Managing Members as of the date of the Call
        Notice (as defined below) in their sole discretion (the "Fair Market Value").

                                    (ii)    To exercise the Call Right, the Company must give written
        notice thereof to such Member (the "Call Notice") which must (i) be in writing and signed by an




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              Case 3:17-cv-00939-WHA Document 2688-3 Filed 01/28/19 Page 3 of 4



        authorized officer of the Company, (ii) set forth the Company's intent to exercise the Call Right
        and contain the total number of Units the Company intends to repurchase pursuant to the Call
        Right, and (iii) be mailed or delivered in accordance with Section 21 hereof

                                        (iii) The closing of any repurchase under this Section 6(c) shall
        be at a date to be specified by the Managing Members, such date to be no later than 30 days after
        the date of the Call Notice. The Repurchase Price shall be paid at the closing or within five (5)
        business days thereafter in the form of a check or by cancellation of money purchase
        indebtedness against surrender by such Member of any certificate evidencing the Units with duly
        endorsed unit powers if any. No adjustments shall be made to the Repurchase Price for
        fluctuations in the Fair Market Value of a Unit after the date of the Call Notice.

                                         (iv)    In the event the Company exercises the Call Right pursuant
        to this Section 6(c) for less than all of the Units beneficially owned by such Member (such
        uncalled Units, the "Remaining Units"), the Company shall irrevocably forfeit, and no longer
        have, the Call Right with respect to the Remaining Units.

                                     (vi)      Notwithstanding anything to the contrary, the Company
               may assign any or all of its rights under this Section 6( c) to one or more Members of the
               Company."

                        1.03 Amendment Controlling. In the event of any inconsistency between the
        terms of this Amendment and the terms of the Agreement, the terms of this Amendment shall
        control. Except to the extent expressly amended pursuant to this Amendment, the terms and
        provisions of the Agreement shall remain in full force and effect without modification and are
        hereby ratified by the parties.

                        1.04 Governing Law. This Amendment shall be construed, enforced, and
        interpreted in accordance with the laws of the State of Delaware, without regard to conflicts of
        law provisions and principles thereof.

                       1.05 Entire Agreement. This Amendment, together with the Agreement, sets
        forth all of the promises, agreements, conditions, and understandings between the parties
        respecting the subject matter hereof and supersedes all prior or contemporaneous negotiations,
        conversations, discussions, correspondence, memoranda, and agreements between the parties
        concerning such subject matter.

                                         [Signatures on Following Page]




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             Case 3:17-cv-00939-WHA Document 2688-3 Filed 01/28/19 Page 4 of 4



                IN WITNESS WHEREOF, the undersigned hereby execute this Amendment as of the
        date first written above.

                                                OTTO TRUCKING LLC,
                                                a Delaware limited liability company




                                               By:~
                                               NamlAnthonyLevandowki
                                               Title: Managing Member


                                               By:       c:f
                                               Name: Lior Ron
                                               Title: Managing Member




                                                MANAGING MEMBERS:

                                                Anthony Levandowski



                                                 I




                                                Lior Ron


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